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                                                                                                   E-FILED
                                                                Thursday, 08 September, 2022 02:23:27 PM
                                                                              Clerk, U.S. District Court, ILCD

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS
                                     PEORIA DIVISION


 Anthony Gay,                                        )
                                                     )
                 Plaintiff,                          )   Case No. 1:19-CV-01133
                                                     )
   v.                                                )   Judge Sue Myerscough
                                                     )   Magistrate Judge Eric I. Long
 John Baldwin et al.,                                )
                                                     )
                 Defendants.                         )

              PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME

        Plaintiff, by and through his undersigned attorneys, respectfully moves the Court for a

one-week extension of time, to September 20, 2022, to file a consolidated response to the

Wexford defendants’ motion for Sanctions ECF 189 and their two memorandums in support,

ECF 190 and ECF 192. Plaintiff has consulted with counsel for the Wexford defendants, who do

not oppose Plaintiff’s motion.

        In support of his motion Plaintiff states:

        1.     The Wexford defendants have filed a motion for sanctions, ECF 189, which was

accompanied by a supplemental memorandum, ECF 190.

        2.     The current deadline to respond to ECF 189 is September 8, 2022.

        3.     On September 6, 2022, the Wexford defendants filed a supplemental

memorandum in support of ECF 189. See ECF 192.

        4.     Factual assertions in ECF 190 and ECF 192 are intertwined, and Plaintiff

respectfully submits that a consolidated response to the two memorandums would further the

Court’s assessment of the Wexford defendants’ sanctions motion.




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       5.      The deadline for responding to ECF 192 is September 20, 2022. Plaintiff

anticipates that this deadline will permit sufficient time to assess and respond to the factual

assertions made in ECF 192 and to file a consolidated response.

       WHEREFORE, Plaintiff respectfully requests that the Court (1) extend the time to

respond to ECF 189 from September 8, 2022 to September 20, 2022, and (2) permit Plaintiff to

file a single consolidated response to ECF 190 and ECF 192, the memorandums filed in support

of ECF 189.


Dated: September 8, 2022                               Respectfully submitted,


                                                       /s/ Stephen H. Weil        .

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